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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION


UNITED STATES OF AMERICA                                                             PLAINTIFF

   v.                                 CASE NO: 2:10-CR-20057-005

URIEL LIRA-PERZ                                                                      DEFENDANT

                                             ORDER


        The Defendant has filed a Motion for Disclosure (Doc. 46) on November 10, 2010 and

the matter has been referred to the undersigned.

        The Court entered a Pretrial Scheduling Order (Doc. 74) on November 30, 2010. The

Court will treat the Defendant's Motion for Disclosure as a Request for Disclosure pursuant to

the Pretrial Scheduling Order.

        The court finds that this Motion requires no further action by the court. Unless and until a

motion is filed seeking to compel appropriate responses, the court will act on the belief that the

information sought has been timely provided by the party of whom it is requested. Accordingly

the court finds this motion to be MOOT.

        The Defendant's Motion for a Spanish Translation of Charging Documents is DENIED.

The Court provides a Spanish Interpreter at all court proceedings.

        IT IS SO ORDERED this December 3, 2010.




                                              /s/ J. Marschewski
                                              Honorable James R. Marschewski
                                              Chief United States Magistrate Judge
